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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re                                                 :

Robert W. Vega,                                      :     Chapter 7
                                                           Case No. 18-22176 (RDD)
                                    Debtor.           :
------------------------------------------------------x

 STIPULATION AND ORDER EXTENDING THE UNITED STATES TRUSTEE’S AND
     CHAPTER 7 TRUSTEE’S RESPECTIVE TIME TO OBJECT TO DEBTOR’S
                 DISCHARGE OR MOVE FOR DISMISSAL

              WHEREAS, the above captioned debtor (the “Debtor”) has filed a petition under
Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”); and

               WHEREAS, Marianne T. O’Toole (the “Trustee”) has been appointed Chapter 7
Trustee of the above-captioned bankruptcy estate; and

               WHEREAS, the Trustee’s and the United States Trustee’s respective time to
object to the Debtor’s discharge or move for dismissal needs to be extended upon request of the
Trustee in order to allow the Trustee to complete her examination of the Debtor;

               IT IS NOW, THEREFORE, STIPULATED by and between the parties hereto
that the Trustee’s and the United States Trustee’s respective time to object to the Debtor’s
discharge pursuant to Section 727 or move for dismissal pursuant to Section 707(b) of the
Bankruptcy Code be, and it hereby is, extended to and including December 21, 2018 without
prejudice to further extensions.

Dated: White Plains, New York
       October 16, 2018
                                                     ATTORNEY FOR DEBTOR

                                                     /s/ Jeffrey Benjamin
                                                     Jeffrey Benjamin, Esq.
                                                     Kupillas, Unger & Benjamin, LLP
                                                     1 Linden Place, Suite 410-A
                                                     Great Neck, NY 11021

                                                     /s/ Marianne T. O’Toole
                                                     MARIANNE T. O’TOOLE
                                                     Chapter 7 Trustee
SO ORDERED:
Dated: White Plains, New York
       October 18, 2018
/s/ Robert D. Drain____________
United States Bankruptcy Judge


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